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       UMG RECORDINGS, INC., UNIVERSAL MUSIC
  10   PUBLISHING, INC., UNIVERSAL MUSIC
       CORPORATION, KOBALT MUSIC
  11   PUBLISHING, INC., WARNER CHAPPELL
       MUSIC, INC., WB MUSIC CORP., and
  12   SONGS MUSIC PUBLISHING, LLC
  13                        UNITED STATES DISTRICT COURT
  14                      CENTRAL DISTRICT OF CALIFORNIA
  15                                WESTERN DIVISION
  16   William Smith; Brian Clover; Scott     )      Case No. 2:19-cv-02507-PA-MRWx
       McCulloch,                             )
  17                                          )
                             Plaintiffs,      )      REPLY MEMORANDUM OF
  18                                          )      POINTS AND AUTHORITIES IN
              v.                              )      SUPPORT OF MOTION TO
  19                                          )      DISMISS
       The Weeknd; Abel M. Tesfaye (p/k/a The )
  20   Weeknd); Jason Quenneville (p/k/a      )           [Fed. R. Civ. P. 12(b)(6)]
       DaHeala); Ahmad Balshe (p/k/a Belly); )
  21   Savan Harish Kotecha; Ali Payami; Karl )
       Martin Sandberg (p/k/a Max Martin);    )      Date: November 18, 2019
  22   Peter Anders Svensson; The Weeknd      )      Time: 1:30 p.m.
       XO, LLC; The Weeknd XO, Inc.;          )
  23   DaHeala & Co., LLC; MXM, LLC;          )          Courtroom of the Honorable
       MXM Publishing; MXM Music AB;          )                Percy Anderson
  24   Wolf Cousins; Universal Music Group, )            United States District Judge
       Inc. Universal Music Publishing, Inc.; )
  25   Universal Music Corporation; Universal )
       Music Publishing LTD; Universal Music )
  26   Publishing BL Limited; Big Life Music )
       Ltd; Kobalt Songs Music Publishing,    )
  27   Inc.; KMR Music Royalties II SCSP;     )
       SONGS Music Publishing LLC; Songs )
  28             [Continued next page]        )
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   1   Warner/Chappell Music, Inc.; WB           )
       Music Corp.; Warner/Chappell Music        )
   2   Scandinavia AB Sal and CO Manage-         )
       ment LP; Sal and CO LP; Wassim Salibi     )
   3   (aka Tony Sal) (general partner of Sal    )
       and Co); Artist Nation Management         )
   4   Group, Inc. (general partner of Sal and   )
       Co); The Weeknd XO Music, ULC             )
   5   XO&co., Inc. (d/b/a XO) UMG Record-       )
       ings, Inc. (d/b/a Republic Records);      )
   6                                             )
                            Defendants.          )
   7                                             )
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   1            REPLY MEMORANDUM OF POINTS AND AUTHORITIES
   2         SUMMARY OF ARGUMENT
   3         It is commonplace for litigants to begin reply papers by stating that the
   4   opposition confirms a motion should be granted. Here, that is actually true.
   5         Plaintiffs admit that they have no basis to identify any defendant as supposedly
   6   liable for contributory or vicarious infringement and, instead, plaintiffs speculate that
   7   perhaps discovery will reveal a basis for them to assert those claims against all
   8   defendants. Opposition (Doc. 70) at 7:8-10 (“it [is] impossible to know without
   9   discovery whether the infringements in question are direct, contributory, or
  10   vicarious.”). Plaintiffs cannot avoid dismissal by arguing discovery might lend
  11   support for the claims they assert. Further, plaintiffs continue to misapprehend the
  12   nature of contributory and vicarious copyright infringement when they argue that
  13   defendants can both own or control the allegedly infringing song and authorize its
  14   exploitation but also be secondarily liable for those alleged direct infringements.
  15         Plaintiffs also confirm that they cannot plead a non-speculative, plausible
  16   “secret license” theory supporting their state law claims. They simply conflate their
  17   non-party UK publisher with the U.S. Universal defendants and speculate that
  18   “Universal” might have issued a license. Nor do plaintiffs refute that if their UK
  19   publisher did issue a license, their claims, if any, are against that publisher, not
  20   defendants, with whom plaintiff did not contract.
  21          Defendants respectfully submit that their Motion to Dismiss should be granted.
  22         THE SECOND THROUGH SIXTH CLAIMS SHOULD BE DISMISSED
  23         (a)    Plaintiffs’ Opposition Fails to Save Their Second and Third Claims
  24                for Contributory and Vicarious Copyright Infringement
  25                (1)    Plaintiffs’ Allegation that All Defendants Are Either Directly
  26                       or Secondarily Liable Does Not Satisfy the Court’s Order
  27         In their initial Complaint, plaintiffs alleged that all defendants are directly,
  28   contributorily, and vicariously liable for copyright infringement. In dismissing

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   1   plaintiffs’ claims for contributory and vicarious infringement, the Court confirmed
   2   that “a defendant cannot be secondarily liable for that defendant’s own direct
   3   infringement” and required that plaintiffs plead more than bare conclusions. Aug. 23,
   4   2019 Order (Doc. 56) at 4-5. In their First Amended Complaint, however, plaintiffs
   5   simply allege that all defendants are directly, contributorily, or vicariously liable for
   6   copyright infringement. FAC at 33, ¶ 229 (if “some or all of Defendants’ actions and
   7   inactions are determined to not be directly infringing, then they are alleged to be
   8   contributorily infringing”), & at 35, ¶ 236 (if “some or all of Defendants’ actions and
   9   inactions are determined to not be directly infringing, then they are alleged to be
  10   vicariously infringing”).
  11         By that expediency, plaintiffs dodge, rather than comply with, the Court’s
  12   Order. They fail to parse out the alleged direct and secondarily liable infringers and
  13   fail to allege as to each defendant facts establishing either a plausible claim of direct
  14   infringement, a plausible claim of contributory infringement, or a plausible claim of
  15   vicarious infringement.
  16         Plaintiffs argue that they are permitted to plead claims in the alternative.
  17   Opposition at 12-13. But the ability to plead an alternative claim “does not relieve
  18   plaintiffs of their obligation to plead sufficient factual allegations in support of that
  19   request.” Milo & Gabby, LLC v. Amazon.com, Inc., 12 F. Supp. 3d 1341, 1354 (W.D.
  20   Wash. 2014). Plaintiffs’ allegations that all defendants are direct infringers unless
  21   they are contributory or vicarious infringers does not pass muster.
  22                (2)    Plaintiffs Fail to Plead a Plausible Claim Against Any
  23                       Defendant for Contributory or Vicarious Infringement
  24                       i.      Plaintiffs Admit They Cannot Identify Any Defendant
  25                               Who Is Secondarily Liable
  26         Like their initial Complaint, plaintiffs’ First Amended Complaint asserts
  27   against all defendants claims for direct, contributory, and vicarious infringement.
  28   FAC at 30:1-4, 22:1-4, & 35:1-4. While plaintiffs add that those defendants who are

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   1   not directly liable are contributorily or vicariously liable, plaintiffs’ First Amended
   2   Complaint fails to identify any defendant who falls in that category.
   3         The reason is that, as plaintiffs’ Opposition admits, they simply have no basis
   4   on which to assert secondary liability claims against any particular defendant. See,
   5   e.g., Opposition at 7:8-10 (plaintiffs do not know “whether the infringements in
   6   question are direct, contributory, or vicarious”). Lacking a basis consistent with
   7   Federal Rules of Civil Procedure 8 and 11 to assert secondary liability claims against
   8   any specific defendant is not a permitted basis to sue all defendants for contributory
   9   and vicarious infringement. Yet that is exactly what plaintiffs have now twice done.
  10                      ii.    Plaintiffs Repeat Their Conclusory Allegations and
  11                             Also Negate Their Assertions of Secondary Liability
  12         Conclusory allegations do not support claims for contributory or vicarious
  13   copyright infringement. Luvdarts, LLC v. AT & T Mobility, LLC, 710 F.3d 1068,
  14   1071-72 (9th Cir. 2013). Accordingly, in granting plaintiffs leave to amend those
  15   claims the Court made it clear that plaintiffs “must include well-pleaded facts as
  16   opposed to legal conclusions . . . .” Aug. 23, 2019 Order at 5. But in their First
  17   Amended Complaint plaintiffs again allege the elements of the claims without any
  18   factual content establishing a plausible claim that any of the defendants plaintiffs
  19   allege are direct infringers are instead contributory or vicarious infringers. See Defs’
  20   Memo. (Doc. 67-1) at 4-5, 8-12. Further, plaintiffs’ Opposition confirms that plaintiffs
  21   simply cannot plead viable secondary liability claims.
  22         First, plaintiffs’ Opposition repeats their First Amended Complaint’s
  23   conclusory allegations that fail to differentiate among the defendants or identify any
  24   defendant who is supposedly secondarily, rather than directly, liable. Opposition at
  25   9-11. Opposing the Motion by repeating bare legal conclusions only confirms that
  26   plaintiffs cannot plead more.
  27         Second, plaintiffs admit that they do not have any basis to identify any
  28   defendants as contributory or vicarious infringers. See, e.g., Opposition at 7:8-15

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   1   (plaintiffs do not know “the role of each Defendant in [the alleged] infringements
   2   (direct, contributory, vicarious)”). If plaintiffs do not know who is supposedly a
   3   contributory or vicarious infringer, plaintiffs should not be suing defendants for
   4   contributory and vicarious copyright infringement.
   5         Third, plaintiffs confirm that they are only speculating that some defendants
   6   might be secondarily liable rather than directly liable. Plaintiffs assert that there have
   7   been “millions of infringements,” apparently treating each digital stream of A Lonely
   8   Night as a separate infringement even though it would be the alleged violation of a
   9   single exclusive right. 17 U.S.C. Section 106(6). Relying on their hyperbole,
  10   plaintiffs conclude it is “not only possible, but likely,” that someone is a contributory
  11   or vicarious infringer. Opposition at 12-13. However, plaintiffs’ “speculation ‘stops
  12   short of the line between possibility and plausibility of entitlement to relief.’”
  13   DeHoog v. Anheuser-Busch InBev SA/NV, 899 F.3d 758, 765 (9th Cir. 2018) (quoting
  14   Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 557 (2007)).
  15         Finally, plaintiffs ultimately negate their conjecture that some unspecified
  16   defendants may be contributory or vicarious infringers.
  17         Plaintiffs allege that all defendants own or control the allegedly infringing song,
  18   A Lonely Night, and have authorized its exploitation in violation of plaintiffs’
  19   exclusive rights under the Copyright Act. See, e.g., FAC at 7-8, ¶¶ 28-34, & at 31, ¶
  20   222. Because of those allegations, and although infringement is strenuously denied,
  21   defendants have not challenged at the pleading level plaintiffs’ first claim for direct
  22   copyright infringement. In their Opposition, however, plaintiffs declare that “it is
  23   beyond peradventure that if a copyright owner is somehow not directly liable, then
  24   contributory and vicarious liable are appropriate causes of actions given their financial
  25   benefit and right and ability to supervise the infringing activity.” Opposition at 12:9-
  26   12. Notably, plaintiffs fail to cite to a single authority to support that supposedly
  27   unassailable proposition. That is because plaintiffs are simply wrong about the nature
  28   of secondary liability.

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   1         Contributory infringement is not committed by owners of the allegedly
   2   infringing work, but by those who knowingly and materially facilitate another’s
   3   infringement by, for example, maintaining a website that allows others to make and
   4   distribute infringing copies. A&M Records, Inc. v. Napster, Inc., 239 F.3d 1004, 1011
   5   (9th Cir. 2001). Similarly, vicarious infringement is not committed by owners of the
   6   allegedly infringing work, but by those who have the practical ability to stop another’s
   7   infringement but fail to do so and directly benefit financially by, for example,
   8   operating a swap meet and renting booths to people who sell bootleg recordings.
   9   Fonovisa, Inc. v. Cherry Auction, Inc., 76 F.3d 259, 263 (9th Cir. 1996).
  10         Plaintiffs fail to cite any case supporting their proposition that a defendant who
  11   owns or controls an allegedly infringing work and authorizes its exploitation is
  12   somehow a contributory or vicarious infringer. Plaintiffs cite Fonovisa (Opposition
  13   at 12:2-8), but there the defendant swap meet company neither owned the bootleg
  14   recordings nor sold them. Unable to find actual case law support, the best that
  15   plaintiffs can do is ask whether “an administrator of an infringing copyright, who
  16   receives a share of the song’s profits . . . in return for collecting royalties, directly or
  17   secondarily liable?” Id. at 9:16-19. However, an administrator who merely collects
  18   royalties is no more a direct or secondary infringer than credit card companies that
  19   collect payments for infringing works. Perfect 10, Inc. v. Visa Int'l Serv. Ass’n, 494
  20   F.3d 788, 796-806 (9th Cir. 2007).
  21         Plaintiffs rely on conclusions and speculation and argue themselves out of a
  22   secondary infringement claim.
  23                      iii.    Plaintiffs Cannot Avoid the Obligation to Plead a
  24                              Plausible Claim by Hoping Discovery Will Reveal One
  25         Plaintiffs are unequivocal that they do not have a non-conjectural, factual basis
  26   to support their claims of contributory or vicarious infringement but that perhaps
  27   discovery might reveal a basis. Opposition at 2:15-17, 7:8-15, 9:20-23, 11:21-22
  28   (“Discovery should proceed to determine what is the most appropriate cause of action

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   1   against each defendant”), 12:12-15 (the parties can stipulate to dismissal of the
   2   secondary liability claims if discovery reveals them to be baseless). But it is well-
   3   established that conclusory allegations do “not unlock the doors of discovery . . . .”
   4   Ashcroft v. Iqbal, 556 U.S. 662, 678–79 (2009); Mujica v. AirScan Inc., 771 F.3d 580,
   5   593 (9th Cir. 2014) (because, absent discovery, an amendment would be futile,
   6   dismissal affirmed).
   7         Plaintiffs’ claims for contributory and vicarious copyright infringement are not
   8   supported by any relevant factual allegations. And plaintiffs concede they cannot
   9   allege more. Accordingly, plaintiffs’ claims for contributory and vicarious copyright
  10   infringement should be dismissed, this time without leave to amend.
  11         (b)    Plaintiffs’ State Law Claims for an Accounting, Constructive Trust,
  12                and Unjust Enrichment Also Should Be Dismissed
  13         Plaintiffs’ Opposition also fails to save their fourth through sixth claims for,
  14   respectively, an accounting, imposition of a constructive trust, and unjust enrichment.
  15                (1)   Plaintiffs Fail to Allege that their Sixth Claim for Unjust
  16                      Enrichment Is Pleaded in the Alternative
  17         In granting plaintiffs leave to amend these claims, the Court required that to
  18   avoid preemption by the Copyright Act, 17 U.S.C. Section 301(a), plaintiffs allege
  19   that these claims are asserted in the alternative to plaintiffs’ copyright claims. Aug.
  20   23, 2019 Order at 8. The Motion to Dismiss raised that plaintiffs’ First Amended
  21   Complaint alleges that the claims for an accounting and constructive trust are pleaded
  22   as alternatives to the copyright claims, but plaintiffs omit that language from their
  23   claim for unjust enrichment. Defs’ Memo. at 13:11-16; compare FAC at 37, ¶ 242, &
  24   at 39, ¶ 252, with id. at 41-42. Plaintiffs’ Opposition ignores this failure to comply
  25   with the Court’s Order.
  26                (2)   Plaintiffs Fail to Plead a Plausible “Secret License” Theory
  27         Plaintiffs base these three state law claims on speculation that perhaps
  28   defendants obtained a “secret license” from plaintiffs’ UK publisher, Big Life Music,

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   1   Ltd. (“Big Life UK”), or its successor, Universal Music Publishing BL Limited (for
   2   convenience, only, “Universal Publishing UK”), to use plaintiffs’ I Need to Love. The
   3   Motion to Dismiss raised that plaintiffs’ First Amended Complaint fails to include the
   4   “adequate well-pleaded allegations supporting this ‘secret license’ theory . . .”
   5   required by the Court’s Order. Aug. 23, 2019 Order at 8.
   6          Plaintiffs’ Opposition, however, just conflates all of the U.S. Universal entities
   7   that plaintiffs name as publishers and distributors of A Lonely Night, with the UK
   8   entity that plaintiffs dismissed from this case, Universal Publishing UK, to argue that
   9   “Universal” “represented Plaintiffs for years,” “Universal” represents some
  10   defendants, “Universal” distributes the album on which A Lonely Night appears, and
  11   “Universal” might have issued a secret license. Opposition at 7:17-20. Rather than
  12   well-pleaded allegations supporting a secret license, plaintiffs merely speculate based
  13   on their failure to distinguish between (1) the non-party UK entity that represented
  14   plaintiffs and had authority to act on their behalf, and (2) the U.S. entities that plaintiffs
  15   claim are infringers and who have no contractual relationship with plaintiffs.
  16                 (3)    Pleading a Secret License to Use I Need to Love Would Not
  17                        Have Saved Plaintiffs’ State Law Claims
  18                        (i)    If One of Plaintiffs’ UK Publishers Issued a License,
  19                               Plaintiffs’ Claims Would Be Against it, Not Defendants
  20          The Motion to Dismiss also raised that even if plaintiffs adequately alleged that
  21   one of their two UK publishers—non-parties Big Life UK and Universal Publishing
  22   UK—licensed the alleged use of I Need to Love, plaintiffs’ sole remedy would be
  23   against the licensor. Defs’ Memo. at 14.
  24          In their Opposition, plaintiffs argue that if A Lonely Night is an authorized
  25   derivative version of I Need to Love, then, “as authors of an underlying work, Plaintiffs
  26   would . . . be entitled to share in the profits of” I Need to Love. Opposition at 13:14-
  27   17. Plaintiffs cite 17 U.S.C. Section 103(b) and Brownstein v. Lindsay, 742 F.3d 55
  28   (3d Cir. 2014) for the proposition that the author of a work incorporated in a derivative

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   1   work is entitled to a share of the profits from exploitation of the derivative work.
   2   Opposition at 13:17-21. But Section 103(b) states the contrary: that the preexisting
   3   material is not protected by the copyright in a derivative version. And plaintiffs ignore
   4   that in Brownstein the claims included that the parties were co-authors of the
   5   derivative works, a claim that the Court has already concluded plaintiffs cannot make
   6   here. Defs’ Memo. at 16:4-15; Aug. 23, 2019 Order at 7.
   7         Lacking any legal support for their position, plaintiffs pose a hypothetical to
   8   argue that if 95% of an authorized derivative version were preexisting material than
   9   the authors of that preexisting material would be entitled “to share the monies made
  10   by the” derivative work and entitled to credit as authors and owners of the preexisting
  11   material. Opposition at 14:7-11. But the Copyright Act provides no such entitlements.
  12         “Copyright . . . is a creature of statute, and the only rights that exist under
  13   copyright law are those granted by statute. Silvers v. Sony Pictures Entm’t, Inc., 402
  14   F.3d 881, 883–84 (9th Cir. 2005). While the Copyright Act provides for the recovery
  15   of a defendant’s profits attributable to the infringing use of the plaintiff’s work (17
  16   U.S.C. § 504(b)), there is no copyright right to payment for an authorized use.
  17   Graham v. James, 144 F.3d 229, 236 (2d Cir. 1998) (copyright owner could not
  18   recover “copyright damages” from licensed uses); Malinowski v. Playboy Enterprises,
  19   Inc., 706 F. Supp. 611, 615 (N.D. Ill. 1989) (“the case law that has developed since
  20   adoption of the Copyright Act very specifically states that nonpayment of royalties
  21   [from authorized use of plaintiff’s work] do not constitute claims arising out of the
  22   Copyright Act.”); Wolfe v. United Artists Corp., 583 F. Supp. 52, 55–56 (E.D. Pa.
  23   1983) (same). As the Court has already ruled, by definition A Lonely Night could only
  24   be a derivative work if its alleged use of I Need to Love was authorized. Aug. 23,
  25   2019 Order at 6-7; 17 U.S.C. § 103(a) (preexisting material must be “[ ]lawfully”
  26   incorporated in derivative work). In addition, “it is well established that the right to
  27   attribution is not a protected right under the Copyright Act.” UMG Recordings, Inc.
  28   v. Disco Azteca Distributors, Inc., 446 F. Supp. 2d 1164, 1178 (E.D. Cal. 2006) (“a

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   1   party’s rights and remedies under the Copyright Act must be derived from the
   2   infringement of one of the exclusive rights set forth in the Act [and t]he right to be
   3   credited is not one of these rights.”); Wolfe, 583 F. Supp. at 55–56 (same).
   4         As a result, plaintiffs have no copyright entitlement to payment or credit with
   5   respect to the alleged use of I Need to Love under a secret license that plaintiffs
   6   speculate might have been granted by one of plaintiffs’ UK publishers. Instead,
   7   plaintiffs’ state law claims for an accounting, constructive trust, and unjust enrichment
   8   are either (1) based on a contractual relationship1 or (2) preempted by the Copyright
   9   Act.2 And plaintiffs do not allege that they have a contract with defendants. Instead,
  10   plaintiffs allege that they entered into a contract with Big Life UK authorizing it to
  11   “shop” I Need to Love, and that Universal Publishing UK succeeded to Big Life UK’s
  12   rights. FAC at 2, ¶ 3; Complaint (Doc. 1) at 3, ¶ 5. If one of those non-party UK
  13   companies licensed rights in I Need to Love to defendants, plaintiffs’ state law claims
  14   would be against that UK company under plaintiffs’ contract with the UK company.
  15   Plaintiffs would have no claim against defendants who—under plaintiffs’ secret
  16   license theory—have a contract with the UK company, not with plaintiffs. Sun
  17   Microsystems, Inc. v. Microsoft Corp., 188 F.3d 1115, 1121 (9th Cir. 1999) (copyright
  18   owner who licenses use “can sue only for breach of contract” (quoting Graham, 144
  19   F.3d at 236; Recorded Picture Co. v. Nelson Entm’t, Inc., 53 Cal. App. 4th 350, 356,
  20
  21   1
              Malinowski, 706 F. Supp. at 615 (while not a copyright issue, failure to pay
  22   royalties with respect to licensed use may “be a violation of the contract between the
       parties.”); Wolfe, 583 F. Supp. at 55–56 (claims for failure to pay royalties and provide
  23   credit for licensed use “arise from contractual transactions between the plaintiff and
  24   defendants,” not copyright).
       2
              Grosso v. Miramax Film Corp., 383 F.3d 965, 968 (9th Cir. 2004), opinion
  25
       amended on denial of reh’g, 400 F.3d 658 (9th Cir. 2005) (unjust enrichment claim
  26   preempted absent bilateral contractual relationship (citing Del Madera Properties v.
  27   Rhodes & Gardner, Inc., 820 F.2d 973, 977 (9th Cir. 1987)); Motown Record Corp.
       v. George A. Hormel & Co., 657 F. Supp. 1236, 1241 (C.D. Cal. 1987) (no contractual
  28   relationship between parties; claims for accounting and constructive trust preempted).

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   1   61 Cal. Rptr. 2d 742, 745 (1997) (sub-distributor’s “obligations are governed by its
   2   contract with the distributor, not by the producer-distributor agreement to which it was
   3   not a party.”).
   4         As a result, even if plaintiffs had adequately pleaded—which they have not—a
   5   “secret license” between defendants and one of plaintiffs’ UK publishers, plaintiffs’
   6   claims would be against that UK company, not defendants, and plaintiffs’ state law
   7   claims against defendants would still fail.
   8                       (ii)   Plaintiffs’ UK Publisher’s Issuance of a License to Use
   9                              I Need to Love Would Not Make Plaintiffs Co-Owners
  10                              of A Lonely Night
  11         The Motion to Dismiss also raised that there is no merit to plaintiffs’ assertion
  12   in a footnote that if plaintiffs’ UK publisher licensed the alleged use of I Need to Love
  13   in A Lonely Night, then plaintiffs co-own A Lonely Night. Defs’ Memo. at 15-16.
  14   Plaintiffs’ Opposition merely repeats their assertion in another footnote, “for purposes
  15   of preserving the argument, . . . .” Opposition at 13 n.3. A bare and patently incorrect
  16   assertion in a footnote preserves nothing.
  17                (4)    Plaintiffs’ Claims Are Preempted if, as They Allege, Their
  18                       UK Publishers Were Not Authorized to Grant a License
  19         Plaintiffs do not dispute that, if as they allege, the possible secret license was
  20   unauthorized, their state law claims are preempted. Defs’ Memo. at 16-17.
  21         CONCLUSION
  22         Plaintiffs have had two chances to plead their contributory and vicarious
  23   copyright infringement claims and their state law claims, and plaintiffs continue to
  24   rely on conclusory allegations and incorrect statements of law. Plaintiffs also now
  25   ///
  26   ///
  27   ///
  28   ///

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   1   confirm that they have no basis in fact to plausibly allege these claims. Accordingly,
   2   the Motion to Dismiss should be granted, this time without leave to amend.
   3   DATED: November 4, 2019                         /s/ Peter Anderson
                                                      Peter Anderson, Esq.
   4                                                  Nicolette Vairo, Esq.
                                               DAVIS WRIGHT TREMAINE LLP
   5                                               Attorneys for Defendants
                                                     ABEL M. TESFAYE,
   6                                          UNIVERSAL MUSIC GROUP, INC.,
                                                  UMG RECORDINGS, INC.,
   7                                       UNIVERSAL MUSIC PUBLISHING, INC.,
                                             UNIVERSAL MUSIC CORPORATION,
   8                                       KOBALT MUSIC PUBLISHING AMERICA
                                           INC., WARNER CHAPPELL MUSIC, INC.,
   9                                          WB MUSIC CORP., SONGS MUSIC
                                                  PUBLISHING, LLC, JASON
  10                                          QUENNEVILLE, AHMED BALSHE,
                                             WASSIM SALIBI, THE WEEKND XO,
  11                                          LLC, THE WEEKND XO, INC., THE
                                           WEEKND XO MUSIC, ULC, DAHEALA &
  12                                       CO., LLC, SAL & CO MANAGEMENT LP,
                                               SAL & CO LP, and XO&CO., INC.
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